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                                                                                U.S. DISTRICT COURT E.D.N Y
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                                                * APR 0 8 2011 *
                                                                                BROOKLYN OFFICE
UNITED STATES OF AMERICA,                                     10-CR-301

               - against-                                     Statement of Reasons Pursuant to
                                                              18 U.S.C. § 3553(c)(2)
QWALLIQUE MACK

                       Defendant.


JACK B. WEINSTEIN, Senior United States District Judge:

        A sentencing court shall "state in open court the reasons for its imposition of the

particular sentence." 18 U.S.c. § 3553(c). If the sentence is not of the kind prescribed by, or is

outside the range of, the sentencing guidelines referred to in section 3553(a)(4), the court shall

indicate the specific reasons for imposing a sentence different from the guidelines. 18 U.S.C.

§ 3553(c)(2). These "reasons must also be stated with specificity in the written order of

judgment and commitment." Id. Even though the mandatory nature of the guidelines has been

excised and they are now "advisory," see United States v. Booker, 543 U.S. 220,245-46 (2005),

the sentencing court must still adhere to the requirements of 18 U.S,c. § 3553(c)(2). United

States v. Jones, 460 F.3d 191, 197 (2d Cir. 2006).

       The sentencing court's written statement of reasons shall be "a simple, fact-specific

statement explaining why the guidelines range did not account for a specific factor or factors

under § 3553(a)," United States v. Rattoballi, 452 F.3d 127, 138 (2d Cir. 2006). Such a

statement should demonstrate that the court "considered the parties' arguments and that it has a

reasoned basis for exercising its own legal decisionmaking authority." United States v. Cavera,

550 F.3d 180, 193 (2d Cir. 2008) (quoting Rita v. United States, 551 U.S. 338, 356 (2007»

(internal quotations and alterations omitted).

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       On August 19, 2010, Qwallique Mack pled guilty to a lesser-included count of a single-

count indictment, which charged that between February 2009 and March 2010 he conspired with

others to distribute and possess with intent to distribute cocaine base in violation of21 U.S.c. §§

S46, S41(a)(I) and (b)(l)(C).

        Mack was sentenced on March 16, 20 II. The proceeding was videotaped in order to

develop an accurate record of the courtroom atmosphere and the factors and considerations that a

district court must evaluate in imposing a sentence under IS U.S.C. § 3553(a). See In re

Sentencing, 219 F.R.D. 262,264-65 (E.D.N.Y. 2004) (utility of videotape on appeal).

        The court finds the total offense level to be 15 and defendant's criminal history category

to be category III, yielding a guidelines range of imprisonment of between 24 and 30 months.

The calculation of the total offense level included a three-point deduction for early acceptance of

responsibility. The offense carried a maximum term of imprisonment of20 years. The

guidelines range of fine was from $4,000 to $1,000,000.

        Mack was sentenced to time served and three years' supervised release. A $100 special

assessment was imposed. No fines were imposed because the defendant does not have any

assets, and it is unlikely that he will have any in the future to pay a fine.

       Respectful consideration was given to the sentencing guidelines, the Sentencing

Commission's policy statements and all other factors listed under IS U.S.C. § 3553(a) to ensure

that the sentence is "sufficient, but not greater than necessary, to comply with the purposes" of

sentencing. IS U.S.c. § 3553(a). The court imposed a non-guideline sentence under IS U.S.C.

§ 3553(a) and Booker.

       The court considered the "nature and circumstances of the offense and the history and

characteristics of the defendant." See IS U.S.c. § 3553(a)(J). The instant conspiracy involved a


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small organization of crack cocaine dealers operating in the Red Hook section of Brooklyn.

Though a serious offense, Mack was a street-level dealer with no managerial authority. He and

two coconspirators sold small quantities of crack cocaine to an undercover officer in a series of

transactions between February 2009 and March 2010. In all, they sold the officer approximately

five grams of crack for a total price of $640.

        Defendant has maintained employment as a bathroom attendant at the spa, Exhale

Enterprises since July, 2010. He earns $8 per hour and contributes $200 per month in child

support. Mack has three sons with his female companion and a daughter with another woman.

At present, he lives with his sister, but he plans to return to the home ofthe mother of his three

sons. He expressed a strong desire to continue providing financial support for his family and to

be involved in his children's lives. All of defendant's prior convictions were for drug possession

and were related to his admitted drug dependency. Defendant tested posted for marijuana on one

occasion while awaiting sentence, but he tested negative on numerous occasions. He will

participate in drug treatment while on supervised release.

       A sentence of time served with three years' supervised release reflects the seriousness of

the offense and will promote respect for the law and provide just punishment. See 18 U.S.c.

§ 3553(a)(2)(A).

       Under section 3553(a)(2)(B), there are two major considerations: specific and general

deterrence. General deterrence is satisfied with the sentence imposed. The sentence will send a
                                                       ,
clear message that any involvement in drug distribution will result in substantial penalties.

Specific deterrence is achieved through the time Mack already served in jail. Additional

incarceration is not appropriate in this case as defendant is employed and is contributing to




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society and his family. It is unlikely that he will engage in further criminal activity in light of his

employment and financial obligations to his four children.




                                                        ack B. Weinstein
                                                       Senior United States District Judge

Dated: March 18, 2011
       Brooklyn, New York




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